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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF GEORGIA
                                ATHENS DIVISION

                                             :
UNITED STATES OF AMERICA                     :
                                             :
     v.                                      : CRIM. NO. 3:18-CR-57-CAR-CHW
                                             :
CHANDLER MOORE,                              :
                                             :
          Defendant.                         :
                                             :

          MOTION FOR ADDITIONAL DECREASE FOR ACCEPTANCE OF
              RESPONSIBILITY PURSUANT TO U.S.S.G. § 3E1.1(b)

          COMES NOW the United States of America, by and through its attorney, the

 United States Attorney for the Middle District of Georgia, and files the present Motion

 for Additional Decrease for Acceptance of Responsibility Pursuant to U.S.S.G. Section

 3E1.1(b). In support hereof, the United States shows that the Defendant assisted

 authorities in the prosecution of Defendant’s own misconduct by timely notifying

 authorities of Defendant’s intention to enter a plea of guilty, thereby permitting the

 Government to avoid preparing for trial and permitting the Government and the

 Court to allocate their resources efficiently.

          Therefore, in the event that the Defendant qualifies for a two level decrease for

 acceptance of responsibility pursuant to Section 3E1.1(a) of the United States

 Sentencing Guidelines, and if the Defendant's offense level as determined prior to the

 operation of Section 3E1.1(a) is level 16 or greater, the United States moves the Court
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to make an additional one level decrease in the offense level pursuant to Section

3E1.1(b).

      Respectfully submitted, this 22nd day of January, 2020.

                                      CHARLES E. PEELER
                                      UNITED STATES ATTORNEY

                                By:   /s/ Tamara A. Jarrett
                                      TAMARA A. JARRETT
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                            CERTIFICATE OF SERVICE

      I, Tamara A. Jarrett, Assistant United States Attorney, hereby certify that I

electronically filed the within and foregoing MOTION FOR ADDITIONAL

DECREASE FOR ACCEPTANCE OF RESPONSIBILITY PURSUANT TO U.S.S.G. §

3E1.1(b) with the Clerk of the Court using the CM/ECF system which will send

notification to the Court and all counsel of record.

      Respectfully submitted, this 22nd day of January, 2020.


                                               CHARLES E. PEELER
                                               UNITED STATES ATTORNEY

                                        By:    /s/ Tamara A. Jarrett
                                               TAMARA A. JARRETT
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